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                    IN THE UNITED STATES DISTRICT COURT FOR
                       THE NORTHERN DISTRICT OF ILLINOIS

SYMBOLOGY INNOVATIONS LLC,                     )
                                               )
       Plaintiff,                              )   CASE NO. 1:18-cv-02786
                                               )
                                               )
       v.                                      )   Honorable Ruben Castillo
                                               )
WATER SPORTS, LLC,                             )
                                               )
       Defendant.                              )


                         NOTICE OF DISMISSAL WITH PREJUDICE

       Plaintiff Symbology Innovations LLC, pursuant to Fed. R. Civ. P. 41 (a), hereby provides

notice that it dismisses all of its claims in this action involving Water Sports, LLC WITH

PREJUDICE. Each party shall bear its own costs, expenses, and attorneys' fees.

Dated: July 11th, 2018                                                 /s/ Frank Andreou
                                                               Frank Andreou (6228760)
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                                                                Eugenio J. Torres-Oyola
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                                                                         Jean G. Vidal
                                                                      USDC No. 227811
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                                                       ATTORNEYS FOR PLAINTIFF
                                                    SYMBOLOGY INNOVATIONS LLC




                            CERTIFICATE OF CONFERENCE

       The undersigned certifies that the parties have complied with the meet and confer

requirement and that all parties are in agreement to the relief requested in this unopposed

motion.


                                                               /s/ Frank Andreou
                                                               Frank Andreou




                               CERTIFICATE OF SERVICE

          I hereby certify that on July 11th, 2018, I electrically filed the foregoing with the Clerk

of the Court using the CM/ECF system, which will send notification to all counsel of record.


                                                               /s/ Frank Andreou
                                                               Frank Andreou
